      Case 8:23-bk-10571-SC Doc 541-3 Filed 09/26/23 Entered 09/26/23 17:06:01                                                            Desc
                           Supplement Proof of Service Page 1 of 3


                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
870 Roosevelt, Irvine, CA 92620

A true and correct copy of the foregoing document entitled (specify): AMENDED OPERATING REPORT will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On
September 26, 2023, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined
that the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On , I served the following persons and/or entities at the last known addresses
in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the
United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration
that mailing to the judge will be completed no later than 24 hours after the document is filed.

DEBTOR – MAIL REDIRECTED TO TRUSTEE
THE LITIGATION PRACTICE GROUP P.C.
17542 17TH ST
SUITE 100
TUSTIN, CA 92780-1981

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on , I served the following persons and/or entities by personal delivery, overnight
mail service, or (for those who consented in writing to such service method), by facsimile transmission and/or email as
follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.


                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 September 26, 2023                       Pamela Kraus                                           /s/ Pamela Kraus
 Date                                     Printed Name                                           Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 8:23-bk-10571-SC Doc 541-3 Filed 09/26/23 Entered 09/26/23 17:06:01                                                          Desc
                             Supplement Proof of Service Page 2 of 3
1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): continued

        Eric Bensamochan eric@eblawfirm.us, G63723@notify.cincompass.com
        Peter W Bowie peter.bowie@dinsmore.com, caron.burke@dinsmore.com
        Ronald K Brown ron@rkbrownlaw.com
        Christopher Celentino christopher.celentino@dinsmore.com, caron.burke@dinsmore.com
        Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
        Randall Baldwin Clark rbc@randallbclark.com
        Leslie A Cohen leslie@lesliecohenlaw.com, jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com
        Aaron E. DE Leest adeleest@DanningGill.com, danninggill@gmail.com;adeleest@ecf.inforuptcy.com
        Jenny L Doling jd@jdl.law,
         dolingjr92080@notify.bestcase.com;15994@notices.nextchapterbk.com;jdoling@jubileebk.net
        Daniel A Edelman dedelman@edcombs.com, courtecl@edcombs.com
        William P Fennell william.fennell@fennelllaw.com,
         luralene.schultz@fennelllaw.com;wpf@ecf.courtdrive.com;naomi.cwalinski@fennelllaw.com;samantha.larimer@fe
         nnelllaw.com
        Christopher Ghio christopher.ghio@dinsmore.com,
         nicolette.murphy@dinsmore.com;karina.reyes@dinsmore.com;deamira.romo@dinsmore.com
        Eric D Goldberg eric.goldberg@dlapiper.com, eric-goldberg-1103@ecf.pacerpro.com
        Jeffrey I Golden jgolden@go2.law,
         kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;dfitzgerald@go2.law;golden.jeffreyi.b117
         954@notify.bestcase.com
        Richard H Golubow rgolubow@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com
        David M Goodrich dgoodrich@go2.law, kadele@go2.law;dfitzgerald@go2.law;wggllp@ecf.courtdrive.com
        D Edward Hays ehays@marshackhays.com,
         ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmendoza@ecf.court
         drive.com
        Alan Craig Hochheiser ahochheiser@mauricewutscher.com, arodriguez@mauricewutscher.com
        Garrick A Hollander ghollander@wghlawyers.com, jmartinez@wghlawyers.com;svillegas@wghlawyers.com
        Razmig Izakelian razmigizakelian@quinnemanuel.com
        Joon M Khang joon@khanglaw.com
        Ira David Kharasch ikharasch@pszjlaw.com
        Meredith King mking@fsl.law, ssanchez@fsl.law;jwilson@fsl.law
        Nicholas A Koffroth nkoffroth@foxrothschild.com, khoang@foxrothschild.com
        David S Kupetz David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com
        Christopher J Langley chris@slclawoffice.com,
         omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com
        Daniel A Lev daniel.lev@gmlaw.com, cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com
        Britteny Leyva bleyva@mayerbrown.com,
         2396393420@filings.docketbird.com;ladocket@mayerbrown.com;KAWhite@mayerbrown.com
        Michael D Lieberman mlieberman@lipsonneilson.com
        Yosina M Lissebeck Yosina.Lissebeck@Dinsmore.com, caron.burke@dinsmore.com
        Mitchell B Ludwig mbl@kpclegal.com, kad@kpclegal.com
        Kathleen P March kmarch@bkylawfirm.com, kmarch3@sbcglobal.net,kmarch@sbcglobal.net
        Richard A Marshack (TR) pkraus@marshackhays.com,
         rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com
        Laila Masud lmasud@marshackhays.com, lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
        Kenneth Misken Kenneth.M.Misken@usdoj.gov
        Byron Z Moldo bmoldo@ecjlaw.com, amatsuoka@ecjlaw.com,dperez@ecjlaw.com
        Alan I Nahmias anahmias@mbn.law, jdale@mbn.law
        Victoria Newmark vnewmark@pszjlaw.com
        Queenie K Ng queenie.k.ng@usdoj.gov
        Keith C Owens kowens@foxrothschild.com, khoang@foxrothschild.com
        Teri T Pham tpham@epgrlawyers.com, ttpassistant@epglawyers.com;dle@epglawyers.com
        Douglas A Plazak dplazak@rhlaw.com
        Daniel H Reiss dhr@lnbyg.com, dhr@ecf.inforuptcy.com
        Ronald N Richards ron@ronaldrichards.com, 7206828420@filings.docketbird.com


            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
        Case 8:23-bk-10571-SC Doc 541-3 Filed 09/26/23 Entered 09/26/23 17:06:01                                                          Desc
                             Supplement Proof of Service Page 3 of 3
        Gregory M Salvato gsalvato@salvatoboufadel.com,
         calendar@salvatolawoffices.com;jboufadel@salvatoboufadel.com;gsalvato@ecf.inforuptcy.com
        Olivia Scott olivia.scott3@bclplaw.com
        Jonathan Serrano jonathan.serrano@dinsmore.com
        Paul R Shankman PShankman@fortislaw.com, info@fortislaw.com
        Zev Shechtman zs@DanningGill.com, danninggill@gmail.com;zshechtman@ecf.inforuptcy.com
        Leslie Skorheim leslie.skorheim@usdoj.gov
        Howard Steinberg steinbergh@gtlaw.com, pearsallt@gtlaw.com;howard-steinberg-6096@ecf.pacerpro.com
        Andrew Still astill@swlaw.com, kcollins@swlaw.com
        United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
        Sharon Z. Weiss sharon.weiss@bclplaw.com,
         raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com
        Johnny White JWhite@wrslawyers.com, jlee@wrslawyers.com




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
